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                                             U.S. Department of Justice
                                             United States Attorney
                                             District of New Jersey


                                             970 Broad Street           973-645-2700
                                             Newark, New Jersey 07102



                                             February 19, 2025


 VIA CM/ECF

 Honorable Michael E. Farbiarz
 United States District Judge
 U.S. Post Office & Federal Courthouse
 Newark, New Jersey 07102

             Re:    United States v. Gordon Coburn and Steven Schwartz
                    Crim. No. 19-120 (MEF)

 Dear Judge Farbiarz:

       The Government respectfully submits this letter to notify the Defendants and
 the public that earlier today, pursuant to the Court’s February 19, 2025 Order, the
 Government submitted a letter ex parte and under seal.



                                             Respectfully submitted,

 GLENN S. LEON                               VIKAS KHANNA
 Chief                                       Acting United States Attorney

 /s/ Keith D. Edelman
 /s/ Connor Mullin                           /s/ Rachelle M. Navarro
 /s/ Paul G. Ream
 ________________________________            __________________________
 KEITH D. EDELMAN                            RACHELLE M. NAVARRO
 CONNOR MULLIN                               Assistant United States Attorney
 PAUL G. REAM                                District of New Jersey
 Fraud Section, Criminal Division
 U.S. Department of Justice
